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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                       :
                                                :
                                                :
                 v.                             :          Cr. No. 21-cr-00176 (CJN)
                                                :
STEVE OMAR MALDONADO,                           :
                                                :
                  Defendant.                    :
____________________________________            :

                                     NOTICE OF FILING

        Mr. Steve Maldonado, through counsel, respectfully files the attached executed waiver of

trial by jury.

                                            Respectfully submitted,


                                            A.J. KRAMER
                                            FEDERAL PUBLIC DEFENDER


                                            ______/s/____________________
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